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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                               )
IN RE: AQUEOUS FILM-FORMING                    )       MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                       )
LITIGATION                                     )       CASE MANAGEMENT ORDER NO. 27
                                               )
                                               )       This Order Relates to All Actions
                                               )

                       TELOMER AFFF BELLWETHER PROGRAM

       The Court hereby issues the following Case Management Order (“CMO”) to govern a

water provider bellwether program targeted at cases involving telomer-based AFFF. With the first

Water Provider Bellwether process resulting in a pending resolution of all water provider claims

as against Defendants 3M, The Chemours Company, The Chemours Company FC, LLC, DuPont

de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company n/k/a EIDP, Inc., the

Court sets forth the following deadlines for the parties’ selection of Telomer-AFFF Water Provider

Bellwether cases (“Telomer Water Provider Cases”) 1 and provides a schedule for same. In

connection with the bankruptcy of Kidde-Fenwal, Inc., the United States Bankruptcy Court for the

District of Delaware has entered an order preliminarily extending the automatic stay and enjoining,

for an initial period of 90 days subject to extension by further order of the Bankruptcy Court, AFFF

claims against certain entities affiliated with Kidde-Fenwal, Inc. (including the entities referred to

as the “Kidde defendants” in the MDL), as well as National Foam, Inc. and certain of its affiliates.

(In re Kidde-Fenwal, Inc., Case No. 23-50387 (Bankr. Del. July 27, 2023)). As part of that order,


1
  The “Telomer Water Provider Cases” may include cases involving public water providers (i.e.,
municipal/city/county providers) or privately owned or held water providers. Such cases may also
involve the use of non-telomer AFFF, however, it must include at least some evidence of AFFF
manufactured by a telomer defendant other than Kidde-Fenwal, Inc., National Foam, Inc., and
their affiliates.

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 the PEC agreed, among other things, to sever the Kidde and National Foam-related entities from

 the next water provider bellwether case that is selected in the MDL. 2

        The Court issues this CMO at this juncture in order ensure the continued progress of this

 MDL.

I.      SELECTION OF TELOMER WATER PROVIDER CASES

        A.      In order to be eligible as a Telomer Water Provider Plaintiff, the Plaintiff’s case

 must have been direct-filed in or transferred into this MDL and served on all named defendants on

 or before August 15, 2023, and also have a substantially complete Plaintiff Fact Sheet (“PFS”)

 served by this date. To the extent the parties dispute the sufficiency of a PFS as of the date of this

 CMO, the parties agree that they will bring that dispute to the Court’s attention for resolution on

 an expedited basis.

        B.      The parties have recommended, and the Court agrees, to include the following

 Telomer Water Provider Cases:

                1. Village of Farmingdale v. 3M Company et al. (No. 2:19-cv-00564).

                2. City of Watertown v. 3M Company et al. (No. 2:21-cv-01104).

                3. Southeast Morris County Municipal Utilities Authority v. 3M Company et al.
                   (No. 2:22-cv-00199)

                4. Bakman Water Company v. 3M Company et al. (No. 2:19-cv-02784).




 2
  The non-Kidde and non-National Foam defendants, named in the Telomer Water Provider Cases
 set forth in this Order, will meet and confer in good faith with the PEC concerning whether those
 defendants will consent to severance of additional entities that may be related to Kidde-Fenwal,
 Inc. See May 16, 2023 Text Order [ECF No. 3130]; see also Joint Status Report for the July 14,
 2023 Case Management Conference, at 20 (noting that the “possibility of the PEC moving this
 Court to sever” the Kidde-Related Entities from the next bellwether cases).
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        The PEC and the Defendants have used their best efforts to select representative “Telomer

Water Provider Cases.”

II.     SCHEDULING OF TELOMER WATER PROVIDER TIER ONE CASES

        A. The parties shall conduct initial tier one fact discovery on the Telomer Water Provider

Cases from September 6, 2023 through November 17, 2023. Collectively, these cases shall be the

“Telomer Water Provider Tier One Cases.”

        B. Tier One Core Discovery. This initial tier one fact discovery will be considered “Tier

One Core Discovery.” The parties shall bear in mind that this phase is Tier One Core Discovery

and the parties will have the opportunity to conduct further Tier Two discovery if the case is

ultimately selected as a Bellwether Trial Pool Case. In depositions of Defendants in Tier One Core

Discovery, plaintiffs’ counsel shall endeavor not to ask questions that are duplicative of questions

asked of the same deponents in depositions already taken during general liability discovery. The

parties also may serve case-specific written discovery, provided, however, that such discovery

shall not duplicate written discovery propounded during general liability discovery by the PEC,

including but not limited to PFSs and DFSs. The parties are reminded that they have a continuing

obligation to supplement the PFS and DFS, as well as other all other discovery served, including

without limitation as to product identification in each case, which supplementation shall be

complete by no later than the close of Tier One Core Discovery.

           1. Defendants.     Defendants presumptively may propound one set of document

               requests (not to exceed 35 requests), and one set of interrogatories (not to exceed

               25 interrogatories) for each of the Telomer Water Provider Tier One Cases.

               Document productions will be substantially completed by the later of October 20,

               2023 or 28 days after service. Defendants will be entitled to up to two (2) case-



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                 specific depositions for each of the Telomer Water Provider Tier One Cases.

                 Depositions of third-parties shall not count against the limits.

             2. Plaintiffs.   Each Plaintiff in the Telomer Water Provider Tier One Cases

                 presumptively may propound case-specific document requests (not to exceed 12

                 requests) and one set of case-specific interrogatories (not to exceed 12

                 interrogatories) on each Defendant in the Telomer Water Provider Tier One Cases,

                 which shall endeavor not to duplicate written discovery propounded by the

                 Plaintiffs in the first Water Provider Bellwether process or in general liability

                 discovery. Document productions will be substantially completed by the later of

                 October 20, 2023 or 28 days after service. Each Plaintiff will be entitled to take

                 one deposition of each Defendant in each of the Telomer Water Provider Tier One

                 Cases. Depositions of third-parties shall not count against the limits. As to all Tier

                 One Core Discovery, the Plaintiffs shall coordinate with each other to avoid

                 duplication and maximize efficiency.

          C. By no later than the conclusion of Tier One Core Discovery, the parties shall meet and

confer to propose to the Court two cases to become Telomer Water Provider Tier Two Cases. The

parties shall present to the Court their agreed on, or competing, Tier Two proposals by no later

than November 21, 2023.

III.      SCHEDULING OF TELOMER WATER PROVIDER TIER TWO CASES

       A. The parties shall conduct Tier Two fact discovery from November 27, 2023 through

February 15, 2024. The Parties shall meet and confer in good faith on the number of depositions

necessary for Tier Two fact discovery and submit a proposed plan to the Court by no later than

November 1, 2023. In addition, Defendants are permitted to propound an additional ten (10)



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requests for production and an additional ten (10) interrogatories for each of the Telomer Water

Provider Tier Two Cases. Each Plaintiff will be permitted to propound an additional ten (10) case-

specific requests for production and an additional ten (10) case-specific interrogatories on each

Defendant in Telomer Water Provider Tier Two Case, which shall endeavor not to duplicate

written discovery propounded by the Plaintiffs in the first Water Provider Bellwether process or

in general liability discovery. Document productions from both sides in response to these

additional requests for production will be substantially complete by January 9, 2024 or 28 days

from the date of service of the requests for production, whichever is later.

   B. On or before March 6, 2024, the PEC shall disclose general and case-specific expert witness

reports for the Telomer Water Provider Tier Two Cases pursuant to Fed. R. Civ. P. 26(a)(2).

   C. On or before April 17, 2024, Defendants shall disclose general and case-specific expert

witness reports for the two Telomer Water Provider Tier Two Cases pursuant to Fed. R. Civ. P.

26(a)(2).

   D. Plaintiffs shall disclose rebuttal expert witness reports, if any, by May 1, 2024.

   E. Each expert witness disclosure shall include at least two dates when each expert is available

for a deposition. Expert depositions can only commence after both sides’ expert reports have been

served, absent agreement of the parties.

   F. Depositions of Plaintiffs’ experts will be completed before depositions of Defendants’

experts in the same discipline, absent agreement of the parties or leave of Court, with all depositions

of expert witnesses to be completed by May 31, 2024. To the extent a Plaintiffs’ expert is not

serving a rebuttal report, the parties may attempt to schedule that expert’s deposition before the

deadline for rebuttal reports.




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    G. The parties intend that the limitations on expert discovery set forth in Rule 26 of the Federal

Rules of Civil Procedure, including the provisions of Rule 26(b)(4)(A)-(D) limiting discovery with

respect to draft reports, communications with experts, and depositions of consulting experts to

apply.

    H. The parties shall agree or submit to the Court their respective positions on the sequence for

trial of the two Tier Two Telomer Water Provider Cases by May 17, 2024. The parties shall agree

or the Court shall select the sequence by May 29, 2024.

    I. Any motions for summary judgment or for partial summary judgment shall be filed on or

before June 14, 2024 in the Telomer Water Provider First Trial Case only. 3

    J. Any motions seeking to challenge expert testimony pursuant to Daubert shall be filed on

or before June 14, 2024 in the Telomer Water Provider First Trial Case only.

    K. Responses to summary judgment motions shall be filed on or before July 12, 2024, in the

Telomer Water Provider First Trial Case only.

    L. Responses to motions seeking to challenge expert testimony pursuant to Daubert shall be

filed on or before July 12, 2024, in the Telomer Water Provider First Trial Case only.

    M. Reply briefs in further support of summary judgment motions shall be filed on or before

July 26, 2024, in the Telomer Water Provider First Trial Case only.




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  Summary judgment and Rule 702 motions may only be made in the Telomer Water Provider
First Trial Case by the Defendants named in that case. And Plaintiffs, to the extent they are filing
dipositive motions may only make said motions in the first designated Tier Two Case. Provided,
however, that if the Tolling Defendants (ChemDesign Products, Inc, Chemicals, Inc., Deepwater
Chemicals, Inc., and Nation Ford Chemical Company) are not named as parties in the case selected
for trial, the Tolling Defendants shall have the right to seek leave of Court to file summary
judgment motions as to the claims brought by Plaintiffs against them in the water provider cases
in accordance with this schedule.
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      N. Reply briefs in further support of motions seeking to challenge expert testimony pursuant

to Daubert shall be filed on or before July 26, 2024, in the Telomer Water Provider First Trial Case

only.

      O. A more detailed schedule for final pretrial matters, including witness and exhibit lists,

motions in limine, deposition designations, and a provision for pre-trial depositions of any trial

witnesses not previously deposed will be the subject of a subsequent CMO.

      P. Trial Date: The presumptive trial date for the Telomer Water Provider First Trial Case will

be August 23, 2024.

IV.      LEXECON WAIVERS

         In order to be a Telomer-AFFF Water Provider Bellwether Case, the parties must provide

a Lexecon waiver. Such waivers must be provided no later than October 8, 2023.

IT IS SO ORDERED.


Dated: September 13, 2023
         Charleston, South Carolina                            s/Richard Mark Gergel_
                                                               Hon. Richard M. Gergel
                                                               United States District Judge




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